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                                UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,
                                                         Case No. l 7CR0439-BTM

                                         Plaintiff,
                       vs.
                                                         JUDGMENT OF DISMISSAL
SHERRY EILEEN PARRIS,

                                       Defendant.



IT APPEARING that the defendant is now entitled to be discharged for the reason that:

     an indictment has been filed in another case against the defendant and the Court has
D
     granted the motion of the Government for dismissal of this case, without prejudice; or

D    the Court has dismissed the case for unnecessary delay; or

     the Court has granted the motion of the Government for dismissal, without prejudice; or

D    the Court has granted the motion of the defendant for a judgment of acquittal; or

D    a jury has been waived, and the Court has found the defendant not guilty; or

D    the jury has returned its verdict, finding the defendant not guilty;

D    of the offense(s) as charged in the Indictment/Information:




Dated:     3/14/2017
                                                      Hon. Peter C. L wis
                       FILED                          United States Magistrate Judge
                        MAR 1 4 2017

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